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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


    UNITED STATES, et al.,

                                    Plaintiffs,
                                                          No. 1:23-cv-00108-LMB-JFA
                    v.

    GOOGLE LLC,

                                    Defendant.

                              MEMORANDUM IN SUPPORT OF
                         NON-PARTY MARS, INC.’S MOTION TO SEAL

         Pursuant to the Court’s pretrial scheduling order dated June 24, 2024 (ECF No. 871) and

  Local Civil Rule 5, Non-Party Mars, Inc. (“Mars”) respectfully files this memorandum in support

  of Non-Party Mars, Inc.’s Motion to Seal Trial Exhibit DOJ_MARS_0000570. Mars objects to

  the public use of Highly Confidential document DOJ_MARS_0000570, which is listed on Google

  LLC’s (“Google’s”) exhibit list for possible use at trial.

         Mars designated the document DOJ_MARS_0000570 Highly Confidential, as defined in

  the May 11, 2023 Modified Protective Order (ECF No. 203). The information contained therein

  is proprietary, non-public, financial and strategic business information. This information, if

  disclosed publicly or to a party, is likely to cause Mars material and significant competitive and

  commercial harm.       Moreover, disclosing this information would violate confidentiality

  obligations Mars has to third-party vendors.

         Mars proposes redactions that are narrowly tailored to Mars’ proprietary and confidential

  third-party information contained in the exhibit, specifically, highly sensitive dollar amounts of

  recent marketing spend broken down by media category and with specific third-party partners.



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  Therefore, Mars respectfully requests the Court order the exhibit to remain in redacted form and

  not be used publicly at trial.

                                             ARGUMENT

          While there is a general public right of access to judicial records, that right of access is

  “not absolute.” Nixon v. Warner Communic’ns, Inc., 435 U.S. 589, 598 (1978). The right of

  public access to judicial records “derives from two independent sources: the First Amendment

  and the common law.” In re United States for an Ord. Pursuant to 18 U.S.C. Section 2703(D),

  707 F.3d 283, 290 (4th Cir. 2013) (citing Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567,

  575 (4th Cir. 2004)). For either the common law or the First Amendment to apply, the documents

  at issue must be judicial records, which include “documents filed with the court . . . if they play

  a role in the adjudicative process.” Id.

          Access to judicial records under the common law can be rebutted if “the public’s right of

  access is outweighed by competing interests.” Id. (quoting In re Knight Publ’g Co., 743 F.2d

  231, 235 (4th Cir. 1984)). Courts have long recognized an entity’s interest in protecting its

  competitively sensitive business information, and that interest may weigh in favor of

  confidentiality.   See Warner Commc’ns, 435 U.S. at 598 (protecting “sources of business

  information that might harm a litigant’s competitive standing”); Knight Publ’g, 743 F.2d at 235

  (“[T]he factors to be weighed in the balancing test include . . . unfairly gaining a business

  advantage.”). Access to judicial records under the First Amendment may be rebutted by a

  “compelling governmental interest . . . [that is] narrowly tailored to serve that interest.” In re

  United States, 707 F.3d at 290 (alteration in original) (quoting Va. Dep’t of State Police v. Wash.

  Post, 386 F.3d 567, 575 (4th Cir. 2004)). Some “private interests might . . . implicate higher

  values sufficient to override . . . the First Amendment presumption of public access” to judicial

  records. Level 3 Commc’ns, LLC v. Limelight Networks, Inc., 611 F. Supp. 2d 572, 580 (E.D. Va.

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  2009). For example, sealing of court records may be justified under the First Amendment to

  protect proprietary and confidential information, disclosure of which “could result in significant

  damage to the company.” Adams v. Object Innovation, Inc., No. 3:11–cv–272–REP–DWD, 2011

  WL 7042224 (E.D. Va. Dec. 5, 2011); see also Woven Elec. Corp. v. Advance Grp., Inc., 930

  F.2d 913 (4th Cir. 1991) (holding that sealing is appropriate to protect the parties’ sensitive

  proprietary information). Sealing is especially justified when disclosure “could harm third-parties

  and not just the movant’s interests.” Lifenet Health v. Lifecell Corp., No. 2:13–cv–486, 2015 WL

  12517430, at *4 (E.D. Va. Feb. 12, 2015) (finding the movant’s “interest in protecting its and

  third-parties confidential commercial information is significant enough to outweigh the First

  Amendment right of access”).

         Mars objects to the public use of a trial exhibit—which is a judicial record the disclosure

  of which is governed by common law and the First Amendment—and requests narrow redactions

  to portions of the document that satisfy the standard for sealing under either standard.

         There are three requirements in the Fourth Circuit to seal court filings: “(1) public notice

  with an opportunity to object[,] (2) consideration of less drastic alternatives, and (3) a statement

  of specific findings in support of a decision to seal and rejecting alternatives to sealing.” Globus

  Med., Inc. v. Jamison, No. 2:22-cv-00282-RBS-LRL, 2023 WL 4937386, at *2 (E.D. Va. Jan. 12,

  2023) (citing Ashcraft v. Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000)). Mars has satisfied

  each of these requirements.

         First, Mars has satisfied the public notice requirement by filing a specific objection and

  redacted version of DOJ_MARS_0000570 in the public record according to the Court’s pretrial

  Order dated June 24, 2024.

         Second, there are no less drastic alternatives to protecting Mars’ commercially sensitive

  information than sealing the limited portions of DOJ_MARS_0000570. Mars has proposed

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  redactions that are narrowly tailored to protect its and third-parties’ proprietary financial and

  marketing information. Mars’ proposed redactions are limited to the confidential information

  contained in the exhibits and are therefore the least restrictive alternative to protect its proprietary

  information.

          Third, the Highly Confidential information Mars seeks to have redacted is confidential

  and commercially sensitive, containing specific dollar amounts of Mars’ advertising spend across

  media type and across specific, named third-party partners. This specific financial and strategic

  information constitutes proprietary trade secrets, exposure of which would cause Mars material

  and significant competitive and commercial harm. Moreover, public use of this information

  would reveal highly sensitive business information that could harm Mars’ third-party partners.

  The proposed redactions protect extremely sensitive commercial information that Mars, as a

  privately held company, does not make available to the public.

          Mars’ interest in protecting its confidential information and the harm that Mars and third-

  parties will suffer from disclosure weigh in favor of sealing the limited information over which

  Mars seeks protection here. For these reasons, Mars respectfully requests that the Court order

  document DOJ_MARS_0000570 be used publicly in its redacted form or under seal in its

  unredacted form.


  Dated: July 26, 2024                                    Respectfully submitted,


                                                          /s/ Tara Reinhart
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